         Case 4:19-cr-00076-HSG Document 52 Filed 12/16/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

 Date: December 16, 2020 Time: 1:08-2:11 p.m.      Judge: HAYWOOD S. GILLIAM, JR.
                            (1 hour and 3 minutes)
 Case No.: 19-cr-00076-HSG     Case Name: USA v. Sparrow

Defendant: Rodney Sparrow (Present)
Attorney for Plaintiff: Thomas Green
Attorney for Defendant: John Paul Reichmuth
Probation Officer: Jessica Goldsberry

Deputy Clerk: Nikki D. Riley                         Court Reporter: Raynee Mercado

PROCEEDINGS:                          Sentencing-HELD

Notes: In light of COVID-19 and this District’s general orders, and with the consent of the
parties, the Court finds it appropriate to proceed with today’s hearing via Zoom. The Court
sentences the Defendant to: 3 years of probation w/ 18 months of location monitoring under the
usual terms and conditions and the special conditions: fine is waived; restitution to be
determined; $100.00 special assessment. See J&C for additional details. The Court sets the
following deadlines: February 3, 2021 at 2:00 p.m. for status conference regarding restitution,
and March 17, 2021 at 2:00 p.m. for restitution hearing.
